UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
                                                            :
 SECURITIES AND EXCHANGE                                    :
 COMMISSION,                                                :
                                                            :
                                     Plaintiff,             :
                                                            :
 v.                                                         :    19 Civ. 00661-EAW
                                                            :
 ROBERT C. MORGAN, MORGAN                                   :
 MEZZANINE FUND MANAGER LLC, and :
 MORGAN ACQUISITIONS LLC                                    :
                                                            :
                                     Defendants.            :
------------------------------------------------------------x

MEMORANDUM OF LAW ON BEHALF OF DEFENDANT ROBERT C. MORGAN IN
    OPPOSITION TO THE SECURITIES AND EXCHANGE COMMISSION’S
  EMERGENCY APPLICATION FOR A TEMPORARY RESTRAINING ORDER,
PRELIMINARY INJUNCTION, ASSET FREEZE, RECEIVER, AND OTHER RELIEF




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                                         INTRODUCTION

       The Securities and Exchange Commission (the “Commission”) comes before the Court

seeking extraordinary emergency relief against Robert C. Morgan, Morgan Mezzanine Fund

Manager LLC (the “Fund Manager”) and Morgan Acquisitions LLC (“Morgan Acquisitions”)

(collectively “Defendants”) including a freeze of Mr. Morgan’s assets. What is truly

extraordinary about this “emergency” application is that the Commission does so while it

concedes that it has no proof that Mr. Morgan has transferred or otherwise hidden assets from the

Commission’s investigation or the ongoing criminal investigation. The Commission’s own

words to the Court on May 22, 2019 bear repeating:

               THE COURT: Do you have any proof that Mr. Morgan has transferred assets

               up until today? . . . . Is there any proof that he has either transferred assets

               or misused -- not misused -- transferred assets or tried to hide assets in an

               effort to protect them from this investigation or any criminal investigation?

               MR. GREENWOOD: We don't know. In terms of his –

               THE COURT: I'm asking whether or not you have any proof of it.

               MR. GREENWOOD: Currently proof?

               THE COURT: Right.

               MR. GREENWOOD: Not at this time. . .

       Cohen Decl. ¶ 23, Ex. 5, at 8:6–19 (emphasis added).

        The Commission’s application must be denied because (1) it has failed to satisfy its

burden of demonstrating a substantial likelihood of success on the merits of any violation of the

Securities Act of 1933 or the Securities Exchange Act of 1934 (collectively, the “Federal

Securities Laws”), and (2) it has manufactured a phony urgency to try unsuccessfully to justify

this extraordinary and onerous relief.



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       The Commission does not set forth facts sufficient to establish a substantial likelihood of

success on the merits that Mr. Morgan violated the Federal Securities Laws. The Commission

fundamentally misunderstands or ignores the broad discretion afforded by the relevant operating

documents and loan agreements to the Fund Manager and Morgan Acquisitions, respectively,

and alleges misuse of the Notes Fund and Morgan Acquisitions investments without basis.

       Moreover, the Commission has failed to stitch together a coherent, genuine showing of

urgency sufficient to justify the emergency relief it seeks. It is undisputed that the government

investigation of Mr. Morgan has been a publicly-known fact based on press reporting since at

least September 2017. The Commission has not identified any recent developments, nor any

other circumstances related to investors, which necessitates emergency relief. It offers no

evidence of Mr. Morgan’s dissipation or transfer of assets. It makes no allegation that Mr.

Morgan has improperly taken investor funds for his own benefit. It ignores the many,

unprompted efforts by Mr. Morgan to confer with the Commission and allay its concerns, no

matter their merit, and to retain a reputable, third party, independent fund manager. The

Commission’s action and emergency application was filed on May 22, 2019 obviously to

dovetail with Mr. Morgan’s May 21 indictment and May 22 arraignment on charges in a criminal

action before this court. See Cohen Decl. ¶ 23, Ex. 5, at 15:16-22. However, the indictment’s

114 counts (to which Mr. Morgan has pled not guilty) mention nothing whatsoever about Notes

Funds or Morgan Acquisitions investors, offering no basis for the Commission’s newfound

urgency.

       In an effort to distract from its insufficient allegations and manufactured urgency, the

Commission resorts to inflammatory and unsupported allegations, and repeats that Mr. Morgan

has operated these investments as a “Ponzi-like scheme” eleven times in its pleadings, and once




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more in its press release. See Pls.’ Mem. of Law (hereinafter the “Memo”) at 1, 4, 7;

Greenwood Decl. ¶¶ 2, 58; Compl. at ¶¶ 1, 9, 63, 83; see also Cohen Decl. ¶ 24, Ex. 6. In the

absence of any allegation of Mr. Morgan’s dissipation of assets or theft of investor funds, the

Commission has unfairly maligned Mr. Morgan in its highly-public pleadings.

        In light of the Commission’s lack of diligence, factual misrepresentations, inaccuracies,

and invented urgency, the Court cannot rely on the Commission’s bald representations absent

supporting evidence. As the Commission has failed to satisfy its burden for any form of

emergency relief it seeks, its emergency application should be denied.

                                   FACTUAL BACKGROUND

        The Commission’s application for emergency relief misstates and omits undisputed facts

critical to the Court’s evaluation of whether the Commission has satisfied its burden (which it

clearly has not), including (i) the long-running, public government investigation; and (ii) Mr.

Morgan’s voluntary and extensive efforts to address the Commission’s apparent concerns

(regardless of their lack of merit).

A.      The Commission Has Long Been On Notice of the Criminal Investigation into Mr.
        Morgan and his Real Estate Portfolio

        The Commission is well aware of the long-running criminal investigation into Mr.

Morgan’s real estate business. Simply put, the government investigation of Mr. Morgan was one

of the worst-kept secrets in the Western District of New York. It has been heavily reported on

by the local and national press beginning as early as September 2017. Cohen Decl. ¶ 7, Exs. 1–

2. This investigation included a highly-publicized FBI search of Morgan Management, the

property management company Mr. Morgan then owned, and a sweeping criminal indictment

against two Morgan Management executives and two mortgage brokers in May of 2018. Cohen

Decl. ¶ 7, Ex. 3; Greenwood Decl. ¶ 69, Ex. 26. Since then, in December 2018, March 2019, and



                                                 3
May 2019, three individuals have pled guilty to charges related to the ongoing criminal

investigation. See Greenwood Decl. ¶¶ 70, 96, Exs. 27, 49; Cohen Decl. ¶ 8. On May 21, 2019,

the U.S. Attorney’s Office of the Western District of New York indicted Mr. Morgan and

another former Morgan Management and Grand Atlas Property Management executive. Yet, the

superseding indictment makes no allegations of criminal activity with regard to Notes Fund or

Morgan Acquisitions investors.

B.       The Commission’s Opportunistic “Emergency” Application Omits Key Facts that
         Refute Its Need for Emergency Relief

         The Commission has been unclear with the Court about when it actually began its

investigation of Mr. Morgan. In response to questioning from the Court on May 22, the

Commission stated that the first subpoenas were issued in “October or November of 2018.”

Cohen Decl. ¶ 23, Ex. 5, at 8:4. At the same time, the Commission conceded that “I’m not

suggesting that a larger investigation on other issues hadn’t been opened for some time.” Id. at

7:24-8:2. However, upon information and belief, government investigators previously spoke to

many Notes Fund investors (the “victims” claimed by the Commission) who stated that they

were satisfied with the investments, and exonerated Mr. Morgan. In its application to the Court,

the Commission omits the fact of these government interviews of satisfied investors.1

         In any event, since October 2018, upon information and belief, the Commission issued

two subpoenas to Grand Atlas, the property management company that had purchased Morgan

Management in June 2018.2 To date, Defendants have not received a subpoena or request for



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     Unless the Commission withdraws its motion, the Court should require the Commission to state under oath
     when they actually began their investigation, when they first learned of government interviews of investors and
     when they first began communicating with the United States Attorney’s Office for the Western District of New
     York about Mr. Morgan.
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     The Commission erroneously states that Mr. Morgan sold Morgan Management to Grand Atlas in April 2018.
     See Greenwood Decl. ¶ 4. The sale occurred on June 4, 2018, and an amendment was executed on July 2, 2018.
     See Cohen Decl. ¶ 4.


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testimony from the Commission. Cohen Decl. ¶ 13. Indeed, during its investigation, the

Commission never contacted Mr. Morgan or its counsel until Mr. Morgan reached out to the

Commission on April 5, 2019. Id. at ¶ 10.

       The Commission omits from its emergency application that Mr. Morgan’s counsel

initiated contact with the Commission on April 5, 2019, and thereafter continued dialogue with

the Commission in an effort to allay their concerns, no matter the lack of their merit. To that

end, Mr. Morgan, through his counsel, voluntarily offered to repay investors at an accelerated

rate, and to retain a highly-recommended new fund manager. Among the facts omitted by the

Commission are:


      On April 9, 2019 (a date and time the Commission set at its earliest convenience after Mr.
       Morgan’s counsel first offered to speak), Mr. Morgan’s counsel informed the
       Commission of Mr. Morgan’s intention to transition the Notes Funds’ management to a
       third party and to pay down Notes Funds’ investors. Id. at ¶ 12. At no point on that call
       did the Commission raise a concern about investor redemptions. Id.

      On April 23, 2019, Mr. Morgan, through counsel, again reached out to the Commission
       in response to learning inflammatory and unsupported accusatory statements the
       Commission apparently had made to counsel for Grand Atlas. Id. at ¶ 14.

      On April 24, 2019, in response to Mr. Morgan’s counsel’s request for a call, the
       Commission relayed its accusatory statements about the Notes Funds’ plan to redeem
       investors with available funds from the Notes Funds and—for the first time—requested a
       meeting with Mr. Morgan’s counsel. Id. at ¶ 15. Despite the Commission’s vague and
       unspecified concerns, counsel for Mr. Morgan confirmed that Mr. Morgan would refrain
       from making any Notes Funds’ redemptions until further notice. Id.

      On May 2, 2019, counsel for Mr. Morgan met with the Commission at its office and
       reiterated Mr. Morgan’s plan to replace the fund manager with an independent third party
       and agreed to update the Commission accordingly. Id. at ¶ 16.

      On May 9, 2019, Mr. Morgan’s counsel informed the Commission that Mr. Morgan was
       in the process of engaging Goldin Associates (“Goldin”), the Commission-appointed
       receiver in S.E.C. v. Platinum Management (NY) LLC, et al., Cohen Decl. ¶¶ 17–18, Ex.
       4, to independently manage the Notes Funds and Morgan Acquisitions, answered the
       Commission’s questions about Goldin’s independence, and offered the Commission the
       opportunity to suggest specific terms for Goldin’s engagement. Id. at ¶ 17. The
       Commission did not provide any such guidance. Id.


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      Four days later, on May 13, 2019, Mr. Morgan’s counsel again reached out to the
       Commission to update them that a Goldin team was planning a diligence visit to
       Rochester and offered the Commission the opportunity to meet with Goldin to discuss
       Goldin’s findings. Id. at ¶ 19.

      On May 20, 2019, Mr. Morgan’s counsel requested a call with the Commission to
       provide a further update on Goldin’s engagement. Id. at ¶ 20. The Commission did not
       respond. Id.

      On May 21, 2019, at approximately 6:30 P.M., the Commission advised Mr. Morgan’s
       counsel by phone of its plan to file an emergency application in this District. Id. at ¶ 21.
       During this call, the Commission attorneys (who are based in New York City) stated that
       they already were in Buffalo and they intended to seek an appearance before the Court on
       May 22. Id. Oddly, the Commission attorneys then asked Mr. Morgan’s counsel where
       they would be on May 22. Id. In response, Mr. Morgan’s counsel stated that the
       Commission obviously already knew that they would be in Buffalo on May 22 for Mr.
       Morgan’s arraignment on the criminal indictment. Id.

      Shortly after midnight on May 22, 2019, the Commission provided a copy of its
       emergency application to counsel for Mr. Morgan. Id. at ¶ 22. Later that day, the
       Commission filed the emergency application with the Court.


       These events, notably absent from the Commission’s Complaint, hardly supports the

Commission’s allegation of a massive “Ponzi-like scheme.” The Commission opted not to learn

more about Mr. Morgan’s imminent engagement of an independent, third-party fund manager, as

those facts undercut the narrative in their about-to-be filed and publicized emergency

application. It cannot be disputed that the Commission filed for emergency relief to coincide

with the arraignment of Mr. Morgan on unrelated charges brought by the U.S. Attorney’s Office.

At the date of filing, the Commission was aware that, since April 24, 2019, no redemptions had

been made, nor would be made until further notice. Goldin, an independent, third party, recently

vetted with favorable outcome by the Commission in another active matter, was poised to take

over management and control of the Notes Funds and Morgan Acquisitions. The Commission’s

application for relief that Mr. Morgan had already voluntarily begun to implement is nothing




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more than a thinly-veiled attempt to ride on the coat tails of the criminal indictment against Mr.

Morgan.

                                           ARGUMENT

A.     The Commission Has Failed To Satisfy Its Burden to Show Mr. Morgan Must be
       Temporarily Restrained and Enjoined From Further Violations of the Federal
       Securities Laws

       The prohibition against future securities law violations is a sanction that the Second

Circuit has “characterized as having grave consequences” because it “accomplishes significantly

more than preservation of the status quo.” S.E.C. v. Unifund SAL, 910 F.2d 1028, 1040 (2d Cir.

1990). Therefore, the Commission must “make a substantial showing of likelihood of success as

to both a current violation and the risk of repetition.” Id.; see also S.E.C. v. Cavanagh, 1 F.

Supp. 2d 337, 384 (S.D.N.Y.), aff'd, 155 F.3d 129 (2d Cir. 1998).

       The Commission fails to make a substantial showing of a likelihood to succeed on the

merits because it provides plainly insufficient evidence to support each element of the asserted

violations and instead relies on inaccurate and conclusory assertions of purported limitations to

the use of Notes Funds and Morgan Acquisitions investments that fall apart upon examination of

the relevant operating documents. Similarly, the Commission restates its own unsupported

conclusions that the alleged violations occurred in an attempt to manufacture a risk of repetition

of events it has not demonstrated happened in the first instance.

       Moreover, equitable circumstances weigh strongly in favor of a denial of the relief

requested against Mr. Morgan. See Cavanagh, 1 F. Supp. 2d at 384 (reasoning that “[a]lthough a

preliminary injunction is a useful device where a court finds that it is necessary to deter future

violations, there are cases where an injunction may do more harm than good.”). The

Commission has not credibly alleged that any investors have been harmed, nor that Mr. Morgan

has attempted to dissipate funds for personal gain or even transfer funds to avoid detection.


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Rather, Mr. Morgan has persistently demonstrated to the Commission that he fully intends to be

cooperative, allay any Commission concerns, and to make payments to investors in a manner that

satisfies investors and the Commission.

       1.      The Commission Has Failed to Establish that Mr. Morgan Violated the
               Federal Securities Laws

       The Commission alleges Defendants violated Section 17(a) of the Securities Act of 1933

(the “Securities Act”) and 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”)

and Rule 10b-5(b) thereunder, and that Mr. Morgan is both primarily liable and liable as a

control person for the alleged violations of Morgan Acquisitions and the Fund Manager. Memo

at 5 n.3. Section 17(a) of the Securities Act makes it unlawful for a person, in connection with

the offer or sale of a security, to (1) “employ any device, scheme, or artifice to defraud”; (2)

“obtain money or property by means of any untrue statement of material fact or any omission to

state a material fact necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading”; or (3) “engage in any transaction, practice, or

course of business which operates or would operate as a fraud or deceit upon the purchaser.” 15

U.S.C. § 77q(a). To establish a violation under Section 10(b) of the Exchange Act and Rule 10b-

5 thereunder, the Commission must prove that Mr. Morgan “(1) made a material

misrepresentation or a material omission as to which he had a duty to speak, or used a fraudulent

device; (2) with scienter; (3) in connection with the purchase or sale of securities.” S.E.C. v

Pentagon Capital Mgmt., 192 F.3d 295, 308 (2d Cir. 2013) (quoting Monarch Funding Corp.,

192 F.3d 295, 308 (2d Cir. 1999)); 15 U.S.C. § 78j(b); 17 C.F.R. § 240.10b–5(b). To establish

scienter, the Commission must evidence “an intent to deceive, manipulate or defraud,” a showing

of conduct that is “highly unreasonable” and “represents an extreme departure from the standards

of ordinary care.” S.E.C. v. Yorkville Advisors, LLC, 305 F. Supp. 3d 486, 511 (S.D.N.Y. 2018).



                                                  8
                  a.       The Commission Has Not Made a Showing of Material
                           Misrepresentations and Omissions

         While the Commission alleges that the “representations and disclosures Defendants made

to investors concerning how their investments would be used, and how the Notes Funds3 would

operate, did not permit” the alleged transactions, it fails to cite a provision of the governing

documents in support of that claim, and in fact ignores the provisions which permit broad

discretion to the Fund Manager. Compl. at ¶ 63; see also Memo at 6–7. In light of those

contradictions between the Complaint and the offering memoranda, the Commission has failed to

adequately plead its claim. See Batson v. Rim San Antonio Acquisition, LCC, 2016 WL

6901312, at *4–6 (S.D.N.Y. Nov. 22, 2016) (dismissing § 10(b)(5) claim where alleged

misrepresentation was contradicted by the terms of an offering memorandum); Kramer v. Time

Warner Inc., 937 F.2d 767, 773-74 (2d Cir. 1991) (upholding dismissal of § 10(b) claims

contradicted by defendants' tender offer documents).

         Indeed, the Notes Funds’ offering memoranda provides the Fund Manager with sole

discretion to select and make Portfolio Loans to Affiliate Borrowers—exactly the conduct that

the Commission now complains about. See Greenwood Decl. ¶ 12, Ex. 2, at 19 (AI I Offering

Mem.); Ex. 3, at 19 (QP I Offering Mem.); Ex. 4, at 20 (AI II Mem. at 17); Ex. 5, at 20 (QP II

Offering Mem. at 17); Ex. 6, at 21 (AI III Offering Mem. at 18); Ex. 7, at 21 (QP III Offering




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     Hereinafter “Notes Funds” refers to the six investment funds with substantially similar offering memoranda and
     operating agreements, managed by Morgan Mezzanine Fund Manager. Cohen Decl. ¶ 5. Investors purchased
     membership interests in Notes Funds pursuant to substantially similar subscription agreements. The definition
     of Notes Funds does not include Morgan Acquisitions, a separate entity that provide promissory notes to
     “investors” in exchange for loans that differed in loan term, interest rate, and the loan’s stated purpose. Cohen
     Decl. ¶ 6. In its papers, the Commission confusingly defines Notes Funds to include Morgan Acquisitions and,
     despite its acknowledgement that the Morgan Acquisitions’ loan agreements do not use the defined terms
     “Portfolio Loan” and “Affiliate Borrower” found in the Notes Funds’ offering memoranda, blithely “use[s]
     those terms to refer” to Morgan Acquisitions’ investments as well, based on its unsupported assertion that
     Morgan Acquisitions and the Notes Funds “operated in a substantially similar manner.” See Greenwood Decl.
     ¶32; see also Compl. ¶ 2 (defining “Notes Funds”).


                                                          9
Mem. at 18).4 In the offering memoranda and operating agreements provided to Notes Fund

investors, a “Portfolio Loan” is consistently defined only as a “loan made by the [Fund] to an

Affiliate Borrower which may be on such terms and conditions as the Fund Manager may

determine in its discretion, but which generally will be subordinated to indebtedness owed by an

Affiliate Borrower to a senior mortgage lender and unsecured.” See, e.g., id. Ex 2, at 67

(“Definitions”).

         Similarly, the Notes Funds’ Subscription Packages also explain the Funds’ “plan to make

Portfolio Loans to the Affiliate Borrowers to reduce their cost of capital . . . so that they, or their

affiliates, may more efficiently acquire, manage, operate, hold, or sell . . multi-family

properties.” Id. Ex. 2, at 13. The operating memoranda specify that Portfolio Loans may be

used to purchase existing loans an Affiliated Borrower had with other lenders. Id. at 22. This

broad discretion to purchase existing loans held by an Affiliate Borrower to reduce the Affiliate

Borrower’s cost of capital contemplates, under a plain reading of the offering memoranda, a later

Notes Fund’s purchase of Portfolio Loans an Affiliate Borrower holds from an earlier Notes

Fund. In addition, the offering memoranda repeatedly discloses that investing in the Notes

Funds is risky, describing the investment as “long-term,” expressly providing “no assurance as to

when or whether we will have sufficient cash for distribution,” and dedicating more than ten

pages to disclose the various conflicts of interest of the Fund Manager in managing and

administering the Notes Funds, which include conflicts related to “compensation arrangements

between our Fund Manager and certain affiliates” and the “selection and allocation of lending

opportunities to Affiliate Borrowers.” See, e.g., Greenwood Decl. ¶ 12, Ex. 3 at 9, 22, 26 and



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     For purposes of this paragraph, unless otherwise stated, the definitions described hereto are consistent across all
     six Notes Funds’ offering memoranda, Greenwood Decl. ¶ 12 Exs. 2–7, and the offering memorandum of
     Morgan 11% Notes Fund LLC (“AI I”) is cited.


                                                          10
29–39 (setting forth conflicts of interest and other risk factors in the investment). These

additional highly relevant factors also were not mentioned by the Commission in their motion,

and they further undercut the emergency narrative the Commission has invented. In sum, the

Commission’s “Ponzi-like scheme” allegation falls apart upon a plain reading of the Notes

Funds’ governing documents.

       Nor can the Commission demonstrate a substantial likelihood to succeed on the merits

with respect to any allegation of a misrepresentation or omission with respect to the Morgan

Acquisitions’ investments. The Commission not only misstates or ignores the relevant

disclosures and permissive use found in the Notes Funds’ governing documents, it also omits

from its submission the “packet of documents” it alleges Morgan Acquisitions provided to

investors that contained a “similar but less detailed descriptions of the nature of investment being

offered,” id. at ¶ 29 (emphasis added), and the Court is left to rely on the Commission’s bare

conclusion.

               b.      The Commission Has Not Met Its Burden to Demonstrate that that
                       Defendants Employed Fraudulent Devices

        The Commission’s fails to meet its obligation to factually support its allegations that

Defendants employed fraudulent devices. As noted above, the allegations are premised on a

mischaracterization of the governing documents of the Notes Funds, ignoring the broad

discretion they provide to the Fund Manager to make loans for myriad purposes. The

Commission alleges that Defendants misused the Notes Funds to make “redemptions of investors

in prior or different Notes Funds,” to “cover interest satisfy payments owed to investors” and to

“pay[] off a prior loan.” Memo at 8. In doing so, the Commission asserts, without support, that

the documented Portfolio Loans involved in these transactions were “sham[s]” used to “create

the appearance that Defendants were using investor money properly.” Id. However, nothing in



                                                 11
the offering memoranda prohibits or limits the use of a Portfolio Loan to reduce the cost of

capital of an Affiliate Borrower, be it by paying off an existing debt, including an Affiliate

Borrower’s loans from an earlier Notes Fund, or providing funds for an Affiliate Borrower to

meet its monthly interest payment on an existing loan from an earlier Notes Fund.

       To the extent the Commission alleges misuse of investor funds from loans to Morgan

Acquisitions, it has also failed to meet its burden. The Morgan Acquisitions’ investments are not

subject to the governing documents of the Notes Funds. The Commission fails to support its

allegation that Morgan Acquisitions’ loan proceeds were misused because it has not pointed to

any violation in the particular promissory notes governing the relevant loans. Additionally,

because the Commission concedes that Morgan Acquisitions is not used exclusively for

receiving investor loans, Greenwood Decl. ¶ 6, it cannot, without more evidence, credibly claim

that the funds allegedly misapplied were in fact investor funds.

       The two nonbinding, unpublished district court opinions cited by the Commission do not

support their position. In S.E.C. v. Watermark Fin. Servs. Grp., Inc., the defendant did not use

any of the investor funds for the stated purpose, “misappropriated and converted nearly

$1,000,000 of investor funds for his own purposes ... [and] also provided investor funds to family

members.” 2012 WL 501450, at *6 (W.D.N.Y. Feb. 14, 2012) (Skretny, J.) In Watermark,

Judge Skretny found the defendant “knowingly and voluntarily, and with the intent to profit”

engaged in an “egregious” and “extensive” Ponzi scheme. The Commission also cites to a

decision from Oregon in which defendants used 75% to 85% of investor funds in an attempt to

cover up expenses and losses from a Ponzi scheme, in a manner that expressly violated fund

governing documents, and also diverted to themselves millions of dollars in salary and bonuses

from investor funds. S.E.C. v. Aequitas Mgmt., LLC, 2017 WL 1206691, at *4; *13 (D. Or. Jan.




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9, 2017). Here, by contrast, the Commission has failed to show investor funds were misused at

all, let alone misused extensively, or in a manner demonstrating an intentionally fraudulent

scheme for the purpose of undue personal profit. In fact, the Commission previously conceded

that it does not have any such proof.

               c.      Commission’s Conclusory Declaration of Mr. Morgan’s Scienter Is
                       Insufficient To Establish Scienter

       The Commission’s conclusory statement that Mr. Morgan either “knew or was at least

reckless in not knowing he was misusing investor assets” is insufficient to establish scienter as

required under Section 10(b) of the Exchange Act and Rule 10b-5. Rather, it merely restates the

statutory language. Scienter requires more than mere recklessness; rather, “conduct which is

highly unreasonable and which represents an extreme departure from the standards of ordinary

care” must be shown. S.E.C. v. McNulty, 137 F.3d 732, 741 (2d Cir. 1998); see also Yorkville

Advisors, 305 F. Supp. 3d at 511. As set forth above, the Notes Funds investors participated on

the basis of governing documents that afforded broad discretion to the Fund Manager in the use

of invested funds, and the actual uses the Commission enumerates in their emergency motion

comport with that broad discretion. The Commission has not introduced any evidence that

would establish an “extreme departure from the standards of ordinary care.” Id.

               d.      The Commission Has Failed to Provide Sufficient Evidence to
                       Demonstrate the Morgan Acquisitions’ Promissory Notes Are
                       Securities

       The Commission provides no factual support, beyond its bare assertions that Morgan

Acquisitions qualifies as a security under Reves v. Ernst & Young. 494 U.S. 56, 110 S. Ct. 945,

108 L. Ed. 2d 47 (1990). Under Reves, the Court must consider the following factors in

determining whether a “note” is a non-security, not subject to the securities laws: “(1) the

motivations that would prompt a reasonable buyer and seller to enter into the transaction; (2) the



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plan of distribution of the instrument; (3) the reasonable expectations of the investing public; and

(4) whether some factor, such as the existence of another regulatory scheme, significantly

reduces the risk of the instrument, thereby rendering application of the securities laws

unnecessary.” Pollack v. Laidlaw Holdings, Inc., 27 F.3d 808, 812 (2d Cir. 1994) (citing Reves).

        The Commission ignores these factors and, in any event, has not identified evidence

supporting its position. Specifically, the Commission baldly concludes, without evidence, (i) the

purported purpose of the Morgan Acquisitions’ investments, (ii) the “broad segment of the

public” it was offered (referencing only ten investors), and (iii) what, if any, representations Mr.

Morgan allegedly made these investors about the investments. Memo at 11. The Morgan

Acquisitions investments are individual loan agreements and promissory notes that differed in

term, nature of investment, and specific uses, and the Commission fails to evidence how, if at all,

these individual investments were represented to investors. See Greenwood Decl. ¶ 16 (“the

Morgan Acquisition promissory notes contain terms ranging from two to seven years”); ¶ 29

(stating, without evidence that the “package of documents Defendants provided to [Morgan

Acquisitions] investors . . . provided a similar but less detailed description of the nature of the

investment being offered.”); ¶ 30 (acknowledging the Morgan Acquisitions’ loans “typically”

required monthly 11% interest payments).

        2.      The Commission Has Not Proven Any Risk of Repetition

        The Commission not only fails to demonstrate a substantial likelihood of success on the

merits that there was a violation of the Securities Laws, it also fails to satisfy its burden to

demonstrate a risk of further alleged misconduct. The Commission merely restates its

allegations of past violations, its own unsupported conclusions that the alleged violations were

done “with a high degree of scienter,” and cites Defendants’ purported control of the Notes

Funds and Morgan Acquisitions. Unsupported accusations are not proven simply because they


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are repeated again and again. Nor can there be a tangible risk of repetition of actions unproven

to have occurred in the first place.

       At the time of its filing, the Commission was aware that Mr. Morgan had taken

substantial steps to finalize an engagement with Goldin to replace Mr. Morgan as Fund Manager

for the Notes Funds through no fewer than five phone calls and meetings with Mr. Morgan’s

counsel between April 9 and May 13. Cohen Decl. ¶ 32. Goldin had received a retainer for the

engagement, met with Mr. Morgan, conducted due diligence on site in Rochester, and provided

final comments to the proposed engagement letter and related operating documents. Cohen Decl

¶ 31. The Commission’s application for emergency relief, which includes the appointment of a

receiver, interrupted the transfer of control of the Notes Funds and Morgan Acquisitions from

Mr. Morgan to Goldin.

       The Commission confusingly points to the “nature of the [alleged] conduct” and alleges

the conduct included “the covering up of other fraud.” Memo at 12. As noted previously, the

Subscription Package provides that Note Funds’ assets could be used to repay an existing

mortgage loan owed by an Affiliate Borrower under the operating documents. See, e.g.,

Greenwood Decl. ¶ 12, Ex. 2, at 13; see also id. at ¶ 21 (disclosing that the Fund, at the Fund

Manager’s discretion, “plans to make Portfolio Loans to the Affiliate Borrowers to reduce their

cost of capital” so they “may more efficiently . . . manage” or “operate” the properties, and

that Funds “may purchase existing Portfolio Loans that were originated with Affiliate Borrowers

by other lenders.”). Incanting the incendiary words “covering up of other fraud” where the

allegation of an initial fraud is belied by the operative documents that the Commission ignores,

obviously fails to meet the Commission’s burden.




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B.      The Commission Fails to Satisfy its Burden to Seek an Asset Freeze

        The Commission’s broad request for a temporary freeze of Mr. Morgan’s assets also must

be denied. The Commission’s request to “preserve the status quo” is outweighed by its failure to

meet its burden of a likelihood of success on the merits, its lack of evidence of any dissipation of

assets, and the impingement on Mr. Morgan’s Fifth and Sixth Amendment constitutional rights.

        1.      The Commission Fails to Allege a Dissipation of Assets

        A court considering whether to issue an asset freeze must weigh “the disadvantages and

possible deleterious effect of a freeze. . . against the considerations indicating the need for such

relief.” S.E.C. v. Manor Nursing Ctrs., Inc., 458 F.2d 1082, 1106 (2d Cir. 1972). An asset

freeze is appropriate relief where there is a “significant risk of the dissipation of defendants’

assets during the course of the litigation.” F.T.C. v. Campbell Capital LLC, 2018 WL 5781458,

at *4 (W.D.N.Y. Oct. 24, 2018) (citing S.E.C. v. Manor Nursing Trs., Inc., 458 F.2d 1082, 1106

(2d Cir. 1972)); see also S.E.C. v. Infinity Grp. Co., 212 F.3d 180, 197 (3d Cir. 2000) (The

purpose of an asset freeze is “to preserve the status quo by preventing dissipation and diversion

of assets”); see also Cohen Decl. ¶ 23, Ex. 5, at 8:21–24 (Greenwood) (“The goal here is with

respect to the sort of . . . SEC asset freeze standard in cases like Infinity Group . . . is to preserve

the status quo”).

        An asset freeze is inappropriate because the Commission has failed to establish a

likelihood of success on the merits, as set forth infra Section A(1), and offers no credible

evidence that Mr. Morgan has dissipated or diverted any assets. Cohen Decl. ¶ 23, Ex. 5, at 8:6–

19. The Commission relies on two newspaper articles, without more, to suggest that there is a

“potential for” the dissipation of assets because a Morgan-owned residence and some properties

in Mr. Morgan’s expansive real estate portfolio currently are for sale. Memo at 13. Those

references are unpersuasive. Like most homeowners, Mr. Morgan and his wife put their house


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on the market after purchasing a new house in or around March 2019. Cohen Decl. ¶ 33. The

Commission’s suggestion is illogical: the marketing and eventual sale of a $990,000 home—a

value less than 2% of the total values of the outstanding Notes Funds which Mr. Morgan has

personally guaranteed—does not evidence a dissipation risk. Moreover, in a real estate portfolio

of over 36,000 apartment units, sales are part of the ordinary course of business, as the

newspaper article the Commission cites correctly observed. See Greenwood Decl. ¶ 98, Ex. 41

at 2, 3. Also, the sales of properties owned by Affiliate Borrowers could result in the

prepayment of principal, increasing available funds for investors. See, e.g., Greenwood Decl. ¶

12, Ex. 15, at 4–5 (prepayment of the principal of the note is triggered by “the future . . . sale or

transfer of title of real property”).

        2.      An Asset Freeze Raises Serious Constitutional Concerns for Mr. Morgan’s
                Ability to Choose Counsel In the Pending Criminal Proceeding

        The Commission filed this action seeking to freeze Mr. Morgan’s personal assets on the

same day he was arraigned in a criminal proceeding in this District. In doing so, the

Commission has hindered Mr. Morgan’s ability to obtain counsel of his choice to defend him in

the criminal action. When an asset freeze may hinder the defendant’s ability to obtain counsel of

his choosing in a criminal case, the court must pay “particular attention to the defendant’s Fifth

and Sixth Amendment rights.” S.E.C. v. Coates, 1994 WL 455558, at *3 (S.D.N.Y. August 23,

1994) (finding the court’s hearing for a temporary restraining order seeking a pre-judgment

freeze of the defendant’s assets insufficient to “safeguard the Fifth and Sixth Amendment rights

at issue”).

        In this circumstance, the Commission bears the burden of making a prima facie case of a

securities law violation and that providing evidence that the personal assets it seeks to freeze are

traceable to the fraudulent conduct alleged in the civil case. Coates, 1994 WL 455558, at *4



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(citing U.S. v. Monsanto, 924 F.2d 1186 (1991)); see also Commodity Futures Trading Comm’n

v. Walsh, 2010 WL 882875, at *2 (S.D.N.Y. March 9, 2010) (holding certain personal assets

shall become available to defendants in order to pay legal fees in a parallel criminal case “if the

Government cannot meet its burden of demonstrating that there is a probable cause to believe

that those funds are tainted by fraud.”). Mr. Morgan has not yet engaged criminal counsel for the

indicted case because the mere threat of an asset freeze profoundly affects Mr. Morgan’s ability

to choose his counsel for that criminal proceeding. Cohen Decl. at ¶ 25, Ex. 7. The court must

deny the request to freeze Mr. Morgan’s assets because the Commission has failed to establish a

likelihood of success on the merits, as set forth infra Section A (1), and has made no allegation

(much less a showing) that the assets it seeks to freeze are tainted by fraud but rather admitted it

has no proof that Mr. Morgan has even transferred or hid assets. Cohen Decl. at ¶ 23 Ex. 7, at

8:6–21. Its application, on its face, fails to satisfy its heightened burden required to safeguard

Mr. Morgan’s constitutional rights.

C.     The Commission Has Failed to Show a Receiver is Needed on an Emergency Basis

       The Securities Act and the Exchange Act do not specifically vest the court with the

power to appoint a receiver or monitor in a civil injunction action brought by the Commission,

but courts’ authority to do so is well-established. Manor Suring Ctrs., Inc., 458 F.2d at 1105.

The purpose of appointing a receiver is to “prevent a diversion or waste of assets to the detriment

of those for whose benefit . . . [the] injunctive action is being brought.” Id. (internal quotation

omitted). Courts have recognized, however, that the appointment of a receiver is an

“extraordinary remedy to be invoked only in cases of necessity and upon a clear showing that an

emergency exists,” S.E.C. v. Universal Express, Inc., 2007 WL 2469452 (S.D.N.Y. Aug. 31,

2007) (citing S.E.C. v. Am. Bd. Of Trad, Inc., 645 F. Supp. 1047, 1052 (S.D.N.Y. 1986), and that




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an appointment “should not follow requests by the SEC as a matter of course,” Manor Nursing

Ctrs., Inc., 458 F.2d at 1105.

       No such emergency exists here. The May 21, 2019 criminal indictment against Mr.

Morgan does not allege any conduct related to Notes Funds’ investors or Morgan Acquisitions’

investors. Mr. Morgan has pled not guilty to all charges. The underlying investigation into Mr.

Morgan and his real estate portfolio has been public since September 2017. The Commission’s

other bases for an emergency appointment are out of date and factually incomplete. The

Commission alleges that investor redemptions were satisfied as recently as February 2019, and

the Notes Funds received additional funds from a sale last month. Memo at 15. However, the

Commission omits the fact that, on or about April 24, 2019, in response to learning of the

Commission’s concerns third-hand, Mr. Morgan’s counsel assured the Commission that

redemption payments would not be made in response to the Commission’s stated concerns about

the additional funds received. Cohen Decl. at ¶ 15.

       The very responsibilities and independence Goldin was poised to undertake as manager

of the Notes Funds overlap with what the Commission now says is urgently needed through

Court intervention. The timing of events makes this plain: Goldin was in Rochester on a site

visit and poised to begin its work the day before the Commission filed this action, and once it

filed, Goldin opted not to continue in pursuing the underlying steps the Commission says are

needed on an emergency basis. The Commission’s own actions have created the very

environment that the Commission now asserts requires a receiver on an emergency basis.

Accordingly, the Commission has failed to make a clear showing for this extraordinary relief.




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D.       The Commission has Not Put Forth Evidence that Other Relief Should be Granted
         on a Temporary Basis

         The Commission’s requests for an order for a verified accounting, and for an order

granting expedited discovery and prohibiting the destruction of documents, should also be

denied.5

         The Commission has not made a showing that it is entitled to a verified accounting. The

Commission cites to an unpublished opinion (S.E.C. v. Lybrand, 2000 WL 913894, at *12

(S.D.N.Y. July 6, 2000)), which found an accounting was appropriate where the “threat of

dispersal of assets” was “uncontested.” Of course, the Commission already has conceded that it

has no such proof regarding Mr. Morgan. The only other authority the Commission cites is a

nonbinding district court opinion in a contempt proceeding for failure to comply with an order

for an accounting; it does not discuss whether the ordering the accounting was appropriate nor

the applicable standard. See S.E.C. v. Oxford Capital Sec., Inc., 794 F. Supp. 104, 105-06

(S.D.N.Y. 1992).

         The Commission’s request for an order permitting expedited discovery and prohibiting

the destruction of documents should also be denied, because the Commission failed to make a

showing that it is entitled to such relief. The Commission does not cite any legal authority or

provide any factual basis for why it is entitled to this relief. For the reasons other emergency

relief is inappropriate, these requests should be denied.




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     The Commission also seeks additional relief against the codefendant entities, including a litigation injunction
     and the appointment of a receiver. This Memorandum of Law does not address those requests because they are
     not brought against Mr. Morgan. Mr. Morgan does not consent to that relief, and reserves his rights to object to
     any and all such requests for additional relief.


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                                         CONCLUSION

       For the reasons set forth herein, Mr. Morgan respectfully requests that this Court deny

Plaintiff’s application for any and all emergency relief sought.


Dated: May 31, 2019
       New York, New York
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